Case 0:24-cv-62080-MD Document 16-19 Entered on FLSD Docket 12/13/2024 Page 1 of 186
Case 0:24-cv-62080-MD Document 16-19 Entered on FLSD Docket 12/13/2024 Page 2 of 186
Case 0:24-cv-62080-MD Document 16-19 Entered on FLSD Docket 12/13/2024 Page 3 of 186
Case 0:24-cv-62080-MD Document 16-19 Entered on FLSD Docket 12/13/2024 Page 4 of 186
Case 0:24-cv-62080-MD Document 16-19 Entered on FLSD Docket 12/13/2024 Page 5 of 186
Case 0:24-cv-62080-MD Document 16-19 Entered on FLSD Docket 12/13/2024 Page 6 of 186
Case 0:24-cv-62080-MD Document 16-19 Entered on FLSD Docket 12/13/2024 Page 7 of 186
Case 0:24-cv-62080-MD Document 16-19 Entered on FLSD Docket 12/13/2024 Page 8 of 186
Case 0:24-cv-62080-MD Document 16-19 Entered on FLSD Docket 12/13/2024 Page 9 of 186
Case 0:24-cv-62080-MD Document 16-19 Entered on FLSD Docket 12/13/2024 Page 10 of
                                     186
Case 0:24-cv-62080-MD Document 16-19 Entered on FLSD Docket 12/13/2024 Page 11 of
                                     186
Case 0:24-cv-62080-MD Document 16-19 Entered on FLSD Docket 12/13/2024 Page 12 of
                                     186
Case 0:24-cv-62080-MD Document 16-19 Entered on FLSD Docket 12/13/2024 Page 13 of
                                     186
Case 0:24-cv-62080-MD Document 16-19 Entered on FLSD Docket 12/13/2024 Page 14 of
                                     186
Case 0:24-cv-62080-MD Document 16-19 Entered on FLSD Docket 12/13/2024 Page 15 of
                                     186
Case 0:24-cv-62080-MD Document 16-19 Entered on FLSD Docket 12/13/2024 Page 16 of
                                     186
Case 0:24-cv-62080-MD Document 16-19 Entered on FLSD Docket 12/13/2024 Page 17 of
                                     186
Case 0:24-cv-62080-MD Document 16-19 Entered on FLSD Docket 12/13/2024 Page 18 of
                                     186
Case 0:24-cv-62080-MD Document 16-19 Entered on FLSD Docket 12/13/2024 Page 19 of
                                     186
Case 0:24-cv-62080-MD Document 16-19 Entered on FLSD Docket 12/13/2024 Page 20 of
                                     186
Case 0:24-cv-62080-MD Document 16-19 Entered on FLSD Docket 12/13/2024 Page 21 of
                                     186
Case 0:24-cv-62080-MD Document 16-19 Entered on FLSD Docket 12/13/2024 Page 22 of
                                     186
Case 0:24-cv-62080-MD Document 16-19 Entered on FLSD Docket 12/13/2024 Page 23 of
                                     186
Case 0:24-cv-62080-MD Document 16-19 Entered on FLSD Docket 12/13/2024 Page 24 of
                                     186
Case 0:24-cv-62080-MD Document 16-19 Entered on FLSD Docket 12/13/2024 Page 25 of
                                     186
Case 0:24-cv-62080-MD Document 16-19 Entered on FLSD Docket 12/13/2024 Page 26 of
                                     186
Case 0:24-cv-62080-MD Document 16-19 Entered on FLSD Docket 12/13/2024 Page 27 of
                                     186
Case 0:24-cv-62080-MD Document 16-19 Entered on FLSD Docket 12/13/2024 Page 28 of
                                     186
Case 0:24-cv-62080-MD Document 16-19 Entered on FLSD Docket 12/13/2024 Page 29 of
                                     186
Case 0:24-cv-62080-MD Document 16-19 Entered on FLSD Docket 12/13/2024 Page 30 of
                                     186
Case 0:24-cv-62080-MD Document 16-19 Entered on FLSD Docket 12/13/2024 Page 31 of
                                     186
Case 0:24-cv-62080-MD Document 16-19 Entered on FLSD Docket 12/13/2024 Page 32 of
                                     186
Case 0:24-cv-62080-MD Document 16-19 Entered on FLSD Docket 12/13/2024 Page 33 of
                                     186
Case 0:24-cv-62080-MD Document 16-19 Entered on FLSD Docket 12/13/2024 Page 34 of
                                     186
Case 0:24-cv-62080-MD Document 16-19 Entered on FLSD Docket 12/13/2024 Page 35 of
                                     186
Case 0:24-cv-62080-MD Document 16-19 Entered on FLSD Docket 12/13/2024 Page 36 of
                                     186
Case 0:24-cv-62080-MD Document 16-19 Entered on FLSD Docket 12/13/2024 Page 37 of
                                     186
Case 0:24-cv-62080-MD Document 16-19 Entered on FLSD Docket 12/13/2024 Page 38 of
                                     186
Case 0:24-cv-62080-MD Document 16-19 Entered on FLSD Docket 12/13/2024 Page 39 of
                                     186
Case 0:24-cv-62080-MD Document 16-19 Entered on FLSD Docket 12/13/2024 Page 40 of
                                     186
Case 0:24-cv-62080-MD Document 16-19 Entered on FLSD Docket 12/13/2024 Page 41 of
                                     186
Case 0:24-cv-62080-MD Document 16-19 Entered on FLSD Docket 12/13/2024 Page 42 of
                                     186
Case 0:24-cv-62080-MD Document 16-19 Entered on FLSD Docket 12/13/2024 Page 43 of
                                     186
Case 0:24-cv-62080-MD Document 16-19 Entered on FLSD Docket 12/13/2024 Page 44 of
                                     186
Case 0:24-cv-62080-MD Document 16-19 Entered on FLSD Docket 12/13/2024 Page 45 of
                                     186
Case 0:24-cv-62080-MD Document 16-19 Entered on FLSD Docket 12/13/2024 Page 46 of
                                     186
Case 0:24-cv-62080-MD Document 16-19 Entered on FLSD Docket 12/13/2024 Page 47 of
                                     186
Case 0:24-cv-62080-MD Document 16-19 Entered on FLSD Docket 12/13/2024 Page 48 of
                                     186
Case 0:24-cv-62080-MD Document 16-19 Entered on FLSD Docket 12/13/2024 Page 49 of
                                     186
Case 0:24-cv-62080-MD Document 16-19 Entered on FLSD Docket 12/13/2024 Page 50 of
                                     186
Case 0:24-cv-62080-MD Document 16-19 Entered on FLSD Docket 12/13/2024 Page 51 of
                                     186
Case 0:24-cv-62080-MD Document 16-19 Entered on FLSD Docket 12/13/2024 Page 52 of
                                     186
Case 0:24-cv-62080-MD Document 16-19 Entered on FLSD Docket 12/13/2024 Page 53 of
                                     186
Case 0:24-cv-62080-MD Document 16-19 Entered on FLSD Docket 12/13/2024 Page 54 of
                                     186
Case 0:24-cv-62080-MD Document 16-19 Entered on FLSD Docket 12/13/2024 Page 55 of
                                     186
Case 0:24-cv-62080-MD Document 16-19 Entered on FLSD Docket 12/13/2024 Page 56 of
                                     186
Case 0:24-cv-62080-MD Document 16-19 Entered on FLSD Docket 12/13/2024 Page 57 of
                                     186
Case 0:24-cv-62080-MD Document 16-19 Entered on FLSD Docket 12/13/2024 Page 58 of
                                     186
Case 0:24-cv-62080-MD Document 16-19 Entered on FLSD Docket 12/13/2024 Page 59 of
                                     186
Case 0:24-cv-62080-MD Document 16-19 Entered on FLSD Docket 12/13/2024 Page 60 of
                                     186
Case 0:24-cv-62080-MD Document 16-19 Entered on FLSD Docket 12/13/2024 Page 61 of
                                     186
Case 0:24-cv-62080-MD Document 16-19 Entered on FLSD Docket 12/13/2024 Page 62 of
                                     186
Case 0:24-cv-62080-MD Document 16-19 Entered on FLSD Docket 12/13/2024 Page 63 of
                                     186
Case 0:24-cv-62080-MD Document 16-19 Entered on FLSD Docket 12/13/2024 Page 64 of
                                     186
Case 0:24-cv-62080-MD Document 16-19 Entered on FLSD Docket 12/13/2024 Page 65 of
                                     186
Case 0:24-cv-62080-MD Document 16-19 Entered on FLSD Docket 12/13/2024 Page 66 of
                                     186
Case 0:24-cv-62080-MD Document 16-19 Entered on FLSD Docket 12/13/2024 Page 67 of
                                     186
Case 0:24-cv-62080-MD Document 16-19 Entered on FLSD Docket 12/13/2024 Page 68 of
                                     186
Case 0:24-cv-62080-MD Document 16-19 Entered on FLSD Docket 12/13/2024 Page 69 of
                                     186
Case 0:24-cv-62080-MD Document 16-19 Entered on FLSD Docket 12/13/2024 Page 70 of
                                     186
Case 0:24-cv-62080-MD Document 16-19 Entered on FLSD Docket 12/13/2024 Page 71 of
                                     186
Case 0:24-cv-62080-MD Document 16-19 Entered on FLSD Docket 12/13/2024 Page 72 of
                                     186
Case 0:24-cv-62080-MD Document 16-19 Entered on FLSD Docket 12/13/2024 Page 73 of
                                     186
Case 0:24-cv-62080-MD Document 16-19 Entered on FLSD Docket 12/13/2024 Page 74 of
                                     186
Case 0:24-cv-62080-MD Document 16-19 Entered on FLSD Docket 12/13/2024 Page 75 of
                                     186
Case 0:24-cv-62080-MD Document 16-19 Entered on FLSD Docket 12/13/2024 Page 76 of
                                     186
Case 0:24-cv-62080-MD Document 16-19 Entered on FLSD Docket 12/13/2024 Page 77 of
                                     186
Case 0:24-cv-62080-MD Document 16-19 Entered on FLSD Docket 12/13/2024 Page 78 of
                                     186
Case 0:24-cv-62080-MD Document 16-19 Entered on FLSD Docket 12/13/2024 Page 79 of
                                     186
Case 0:24-cv-62080-MD Document 16-19 Entered on FLSD Docket 12/13/2024 Page 80 of
                                     186
Case 0:24-cv-62080-MD Document 16-19 Entered on FLSD Docket 12/13/2024 Page 81 of
                                     186
Case 0:24-cv-62080-MD Document 16-19 Entered on FLSD Docket 12/13/2024 Page 82 of
                                     186
Case 0:24-cv-62080-MD Document 16-19 Entered on FLSD Docket 12/13/2024 Page 83 of
                                     186
Case 0:24-cv-62080-MD Document 16-19 Entered on FLSD Docket 12/13/2024 Page 84 of
                                     186
Case 0:24-cv-62080-MD Document 16-19 Entered on FLSD Docket 12/13/2024 Page 85 of
                                     186
Case 0:24-cv-62080-MD Document 16-19 Entered on FLSD Docket 12/13/2024 Page 86 of
                                     186
Case 0:24-cv-62080-MD Document 16-19 Entered on FLSD Docket 12/13/2024 Page 87 of
                                     186
Case 0:24-cv-62080-MD Document 16-19 Entered on FLSD Docket 12/13/2024 Page 88 of
                                     186
Case 0:24-cv-62080-MD Document 16-19 Entered on FLSD Docket 12/13/2024 Page 89 of
                                     186
Case 0:24-cv-62080-MD Document 16-19 Entered on FLSD Docket 12/13/2024 Page 90 of
                                     186
Case 0:24-cv-62080-MD Document 16-19 Entered on FLSD Docket 12/13/2024 Page 91 of
                                     186
Case 0:24-cv-62080-MD Document 16-19 Entered on FLSD Docket 12/13/2024 Page 92 of
                                     186
Case 0:24-cv-62080-MD Document 16-19 Entered on FLSD Docket 12/13/2024 Page 93 of
                                     186
Case 0:24-cv-62080-MD Document 16-19 Entered on FLSD Docket 12/13/2024 Page 94 of
                                     186
Case 0:24-cv-62080-MD Document 16-19 Entered on FLSD Docket 12/13/2024 Page 95 of
                                     186
Case 0:24-cv-62080-MD Document 16-19 Entered on FLSD Docket 12/13/2024 Page 96 of
                                     186
Case 0:24-cv-62080-MD Document 16-19 Entered on FLSD Docket 12/13/2024 Page 97 of
                                     186
Case 0:24-cv-62080-MD Document 16-19 Entered on FLSD Docket 12/13/2024 Page 98 of
                                     186
Case 0:24-cv-62080-MD Document 16-19 Entered on FLSD Docket 12/13/2024 Page 99 of
                                     186
Case 0:24-cv-62080-MD Document 16-19 Entered on FLSD Docket 12/13/2024 Page 100 of
                                      186
Case 0:24-cv-62080-MD Document 16-19 Entered on FLSD Docket 12/13/2024 Page 101 of
                                      186
Case 0:24-cv-62080-MD Document 16-19 Entered on FLSD Docket 12/13/2024 Page 102 of
                                      186
Case 0:24-cv-62080-MD Document 16-19 Entered on FLSD Docket 12/13/2024 Page 103 of
                                      186
Case 0:24-cv-62080-MD Document 16-19 Entered on FLSD Docket 12/13/2024 Page 104 of
                                      186
Case 0:24-cv-62080-MD Document 16-19 Entered on FLSD Docket 12/13/2024 Page 105 of
                                      186
Case 0:24-cv-62080-MD Document 16-19 Entered on FLSD Docket 12/13/2024 Page 106 of
                                      186
Case 0:24-cv-62080-MD Document 16-19 Entered on FLSD Docket 12/13/2024 Page 107 of
                                      186
Case 0:24-cv-62080-MD Document 16-19 Entered on FLSD Docket 12/13/2024 Page 108 of
                                      186
Case 0:24-cv-62080-MD Document 16-19 Entered on FLSD Docket 12/13/2024 Page 109 of
                                      186
Case 0:24-cv-62080-MD Document 16-19 Entered on FLSD Docket 12/13/2024 Page 110 of
                                      186
Case 0:24-cv-62080-MD Document 16-19 Entered on FLSD Docket 12/13/2024 Page 111 of
                                      186
Case 0:24-cv-62080-MD Document 16-19 Entered on FLSD Docket 12/13/2024 Page 112 of
                                      186
Case 0:24-cv-62080-MD Document 16-19 Entered on FLSD Docket 12/13/2024 Page 113 of
                                      186
Case 0:24-cv-62080-MD Document 16-19 Entered on FLSD Docket 12/13/2024 Page 114 of
                                      186
Case 0:24-cv-62080-MD Document 16-19 Entered on FLSD Docket 12/13/2024 Page 115 of
                                      186
Case 0:24-cv-62080-MD Document 16-19 Entered on FLSD Docket 12/13/2024 Page 116 of
                                      186
Case 0:24-cv-62080-MD Document 16-19 Entered on FLSD Docket 12/13/2024 Page 117 of
                                      186
Case 0:24-cv-62080-MD Document 16-19 Entered on FLSD Docket 12/13/2024 Page 118 of
                                      186
Case 0:24-cv-62080-MD Document 16-19 Entered on FLSD Docket 12/13/2024 Page 119 of
                                      186
Case 0:24-cv-62080-MD Document 16-19 Entered on FLSD Docket 12/13/2024 Page 120 of
                                      186
Case 0:24-cv-62080-MD Document 16-19 Entered on FLSD Docket 12/13/2024 Page 121 of
                                      186
Case 0:24-cv-62080-MD Document 16-19 Entered on FLSD Docket 12/13/2024 Page 122 of
                                      186
Case 0:24-cv-62080-MD Document 16-19 Entered on FLSD Docket 12/13/2024 Page 123 of
                                      186
Case 0:24-cv-62080-MD Document 16-19 Entered on FLSD Docket 12/13/2024 Page 124 of
                                      186
Case 0:24-cv-62080-MD Document 16-19 Entered on FLSD Docket 12/13/2024 Page 125 of
                                      186
Case 0:24-cv-62080-MD Document 16-19 Entered on FLSD Docket 12/13/2024 Page 126 of
                                      186
Case 0:24-cv-62080-MD Document 16-19 Entered on FLSD Docket 12/13/2024 Page 127 of
                                      186
Case 0:24-cv-62080-MD Document 16-19 Entered on FLSD Docket 12/13/2024 Page 128 of
                                      186
Case 0:24-cv-62080-MD Document 16-19 Entered on FLSD Docket 12/13/2024 Page 129 of
                                      186
Case 0:24-cv-62080-MD Document 16-19 Entered on FLSD Docket 12/13/2024 Page 130 of
                                      186
Case 0:24-cv-62080-MD Document 16-19 Entered on FLSD Docket 12/13/2024 Page 131 of
                                      186
Case 0:24-cv-62080-MD Document 16-19 Entered on FLSD Docket 12/13/2024 Page 132 of
                                      186
Case 0:24-cv-62080-MD Document 16-19 Entered on FLSD Docket 12/13/2024 Page 133 of
                                      186
Case 0:24-cv-62080-MD Document 16-19 Entered on FLSD Docket 12/13/2024 Page 134 of
                                      186
Case 0:24-cv-62080-MD Document 16-19 Entered on FLSD Docket 12/13/2024 Page 135 of
                                      186
Case 0:24-cv-62080-MD Document 16-19 Entered on FLSD Docket 12/13/2024 Page 136 of
                                      186
Case 0:24-cv-62080-MD Document 16-19 Entered on FLSD Docket 12/13/2024 Page 137 of
                                      186
Case 0:24-cv-62080-MD Document 16-19 Entered on FLSD Docket 12/13/2024 Page 138 of
                                      186
Case 0:24-cv-62080-MD Document 16-19 Entered on FLSD Docket 12/13/2024 Page 139 of
                                      186
Case 0:24-cv-62080-MD Document 16-19 Entered on FLSD Docket 12/13/2024 Page 140 of
                                      186
Case 0:24-cv-62080-MD Document 16-19 Entered on FLSD Docket 12/13/2024 Page 141 of
                                      186
Case 0:24-cv-62080-MD Document 16-19 Entered on FLSD Docket 12/13/2024 Page 142 of
                                      186
Case 0:24-cv-62080-MD Document 16-19 Entered on FLSD Docket 12/13/2024 Page 143 of
                                      186
Case 0:24-cv-62080-MD Document 16-19 Entered on FLSD Docket 12/13/2024 Page 144 of
                                      186
Case 0:24-cv-62080-MD Document 16-19 Entered on FLSD Docket 12/13/2024 Page 145 of
                                      186
Case 0:24-cv-62080-MD Document 16-19 Entered on FLSD Docket 12/13/2024 Page 146 of
                                      186
Case 0:24-cv-62080-MD Document 16-19 Entered on FLSD Docket 12/13/2024 Page 147 of
                                      186
Case 0:24-cv-62080-MD Document 16-19 Entered on FLSD Docket 12/13/2024 Page 148 of
                                      186
Case 0:24-cv-62080-MD Document 16-19 Entered on FLSD Docket 12/13/2024 Page 149 of
                                      186
Case 0:24-cv-62080-MD Document 16-19 Entered on FLSD Docket 12/13/2024 Page 150 of
                                      186
Case 0:24-cv-62080-MD Document 16-19 Entered on FLSD Docket 12/13/2024 Page 151 of
                                      186
Case 0:24-cv-62080-MD Document 16-19 Entered on FLSD Docket 12/13/2024 Page 152 of
                                      186
Case 0:24-cv-62080-MD Document 16-19 Entered on FLSD Docket 12/13/2024 Page 153 of
                                      186
Case 0:24-cv-62080-MD Document 16-19 Entered on FLSD Docket 12/13/2024 Page 154 of
                                      186
Case 0:24-cv-62080-MD Document 16-19 Entered on FLSD Docket 12/13/2024 Page 155 of
                                      186
Case 0:24-cv-62080-MD Document 16-19 Entered on FLSD Docket 12/13/2024 Page 156 of
                                      186
Case 0:24-cv-62080-MD Document 16-19 Entered on FLSD Docket 12/13/2024 Page 157 of
                                      186
Case 0:24-cv-62080-MD Document 16-19 Entered on FLSD Docket 12/13/2024 Page 158 of
                                      186
Case 0:24-cv-62080-MD Document 16-19 Entered on FLSD Docket 12/13/2024 Page 159 of
                                      186
Case 0:24-cv-62080-MD Document 16-19 Entered on FLSD Docket 12/13/2024 Page 160 of
                                      186
Case 0:24-cv-62080-MD Document 16-19 Entered on FLSD Docket 12/13/2024 Page 161 of
                                      186
Case 0:24-cv-62080-MD Document 16-19 Entered on FLSD Docket 12/13/2024 Page 162 of
                                      186
Case 0:24-cv-62080-MD Document 16-19 Entered on FLSD Docket 12/13/2024 Page 163 of
                                      186
Case 0:24-cv-62080-MD Document 16-19 Entered on FLSD Docket 12/13/2024 Page 164 of
                                      186
Case 0:24-cv-62080-MD Document 16-19 Entered on FLSD Docket 12/13/2024 Page 165 of
                                      186
Case 0:24-cv-62080-MD Document 16-19 Entered on FLSD Docket 12/13/2024 Page 166 of
                                      186
Case 0:24-cv-62080-MD Document 16-19 Entered on FLSD Docket 12/13/2024 Page 167 of
                                      186
Case 0:24-cv-62080-MD Document 16-19 Entered on FLSD Docket 12/13/2024 Page 168 of
                                      186
Case 0:24-cv-62080-MD Document 16-19 Entered on FLSD Docket 12/13/2024 Page 169 of
                                      186
Case 0:24-cv-62080-MD Document 16-19 Entered on FLSD Docket 12/13/2024 Page 170 of
                                      186
Case 0:24-cv-62080-MD Document 16-19 Entered on FLSD Docket 12/13/2024 Page 171 of
                                      186
Case 0:24-cv-62080-MD Document 16-19 Entered on FLSD Docket 12/13/2024 Page 172 of
                                      186
Case 0:24-cv-62080-MD Document 16-19 Entered on FLSD Docket 12/13/2024 Page 173 of
                                      186
Case 0:24-cv-62080-MD Document 16-19 Entered on FLSD Docket 12/13/2024 Page 174 of
                                      186
Case 0:24-cv-62080-MD Document 16-19 Entered on FLSD Docket 12/13/2024 Page 175 of
                                      186
Case 0:24-cv-62080-MD Document 16-19 Entered on FLSD Docket 12/13/2024 Page 176 of
                                      186
Case 0:24-cv-62080-MD Document 16-19 Entered on FLSD Docket 12/13/2024 Page 177 of
                                      186
Case 0:24-cv-62080-MD Document 16-19 Entered on FLSD Docket 12/13/2024 Page 178 of
                                      186
Case 0:24-cv-62080-MD Document 16-19 Entered on FLSD Docket 12/13/2024 Page 179 of
                                      186
Case 0:24-cv-62080-MD Document 16-19 Entered on FLSD Docket 12/13/2024 Page 180 of
                                      186
Case 0:24-cv-62080-MD Document 16-19 Entered on FLSD Docket 12/13/2024 Page 181 of
                                      186
Case 0:24-cv-62080-MD Document 16-19 Entered on FLSD Docket 12/13/2024 Page 182 of
                                      186
Case 0:24-cv-62080-MD Document 16-19 Entered on FLSD Docket 12/13/2024 Page 183 of
                                      186
Case 0:24-cv-62080-MD Document 16-19 Entered on FLSD Docket 12/13/2024 Page 184 of
                                      186
Case 0:24-cv-62080-MD Document 16-19 Entered on FLSD Docket 12/13/2024 Page 185 of
                                      186
Case 0:24-cv-62080-MD Document 16-19 Entered on FLSD Docket 12/13/2024 Page 186 of
                                      186
